Case 3:18-md-02843-VC Document 606-2 Filed 01/22/21 Page 1 of 6




              EXHIBIT A
        Case 3:18-md-02843-VC Document 606-2 Filed 01/22/21 Page 2 of 6




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                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                       MDL No. 2843
PRIVACY USER PROFILE LITIGATION                      Case No. 18-md-02843-VC-JSC


This document relates to:                            PLAINTIFFS’ FOURTH SET OF
                                                     INTERROGATORIES TO DEFENDANT
ALL ACTIONS                                          FACEBOOK, INC.



PROPOUNDING PARTY:             Plaintiffs

RESPONDING PARTY:              Defendant Facebook, Inc.

SET NUMBER:                    Four (4)

        Plaintiffs hereby propound the following interrogatories to Defendant Facebook, Inc.

(“Facebook”), pursuant to Federal Rules of Civil Procedure 26 and 33, and request that Facebook

respond to the interrogatories below within thirty (30) days of service of these requests at Keller

Rohrback L.L.P., 1201 Third Avenue, Suite 3200, Seattle, WA 98101.

                                            INSTRUCTIONS

        1.      You shall respond to these interrogatories in a manner consistent with the Federal

Rules of Civil Procedure and the following instructions:

        2.      In responding to these Interrogatories, you must answer the Interrogatories in

writing and under oath pursuant to Rule 33(b)(5).

PLS.’ FOURTH SET OF                              1                                     MDL NO. 2843
INTERROGATORIES                                                         CASE NO. 18-MD-02843-VC-JSC
        Case 3:18-md-02843-VC Document 606-2 Filed 01/22/21 Page 3 of 6



        8.      “Action” means this case captioned In re: Facebook, Inc. Consumer Privacy User

Profile Litigation, Case No. 18-md-02843-VC and each of the constituent Actions transferred to

and/or consolidated therein.

        9.      “API” refers to an application programming interface.

        10.     “App” means an interactive software application developed to utilize the core

technologies of the Facebook social networking platform.

        11.     “Business Partners” refers to the third parties with whom Facebook partnered to

develop and integrate Facebook on a variety of devices and operating systems, including, but not

limited to, the third parties listed in paragraph 484 of Plaintiffs’ First Amended Consolidated

Complaint.

        12.     “Content and Information” refers to the definition in footnote 2 of the First

Amended Consolidated Complaint, referring to “content” and “information” as Facebook's

Statements of Rights and Responsibilities have defined those terms. In brief, Facebook has

generally used “information” to mean facts and other information about Facebook Users,

including the actions they take, and “content” to mean anything Facebook Users post on

Facebook that would not be included in the definition of “information.” Content and Information

also includes both personally identifiable content and information and anonymized content and

information that is capable of being de-anonymized. See First Am. Consol. Compl. (“FAC”)

¶¶ 223-224. Content and Information includes data that identifies, relates to, describes, is capable

of being associated with, or could reasonably be linked, directly or indirectly, with a particular

Facebook User, including:

                A.     Identifiers such as a real name, alias, postal address, unique personal

        identifier, online identifier, Internet Protocol address, email address, account name, social

        security number, driver’s license number, passport number, or other similar identifiers.

                B.     Characteristics of protected classifications under California or federal law.




PLS.’ FOURTH SET OF                               4                                    MDL NO. 2843
INTERROGATORIES                                                         CASE NO. 18-MD-02843-VC-JSC
         Case 3:18-md-02843-VC Document 606-2 Filed 01/22/21 Page 4 of 6



INTERROGATORY NO. 13:

        For every API by means of which Third Parties could access the Not Generally Available

Content and Information of Friends of Installing Users, list the name of the API, a description of

its function, the data fields of Not Generally Available Content and Information of Friends of

Installing Users to which it allowed access, the number of calls it received each month, the

volume of data it returned each month, the number of Friends of Installing Users whose Content

and Information was accessed, the name of every Third Party that Facebook allowed to use that

API, and the period during which each Third Party was allowed to use the API.



INTERROGATORY NO. 14:

        Identify every Business Partner that had the ability to access the Not Generally Available

Content and Information of Facebook Users even if such Facebook Users had not downloaded an

App from that Business Partner and time period during which each such Business Partner had

that ability.



INTERROGATORY NO. 15:

        For each Business Partner identified in your answer to Interrogatory No. 14, provide:

    a) The name of each API or other data transfer mechanism by means of which the Business

        Partner accessed the Not Generally Available Content and Information of Facebook

        Users when such Facebook Users had not downloaded an App from that Business

        Partner;

    b) a detailed description of the function of each such API or other data transfer mechanism;

    c) the elements of Not Generally Available Content and Information that each such API or

        other data transfer mechanism allowed access to;

    d) the number of calls the Business Partner made to each such API or other data transfer

        mechanism each month;

    e) the volume of data transferred from each such API or other data transfer mechanism to


PLS.’ FOURTH SET OF                              8                                   MDL NO. 2843
INTERROGATORIES                                                       CASE NO. 18-MD-02843-VC-JSC
        Case 3:18-md-02843-VC Document 606-2 Filed 01/22/21 Page 5 of 6



        each Business Partner each month;

    f) the number of Friends of Installing Users whose Content and Information was so

        accessed by each Business Partner; and

    g) any filters or access restrictions that limited the set of Facebook Users about whom each

        Business Partner could access Not Generally Available Content and Information.



INTERROGATORY NO. 16:

        For each Named Plaintiff, identify all Third Parties who had the ability to access such

Named Plaintiff’s Not Generally Available Content and Information by virtue of the fact that the

Named Plaintiff was a Friend of an Installing User, the date and time of each request for such

access, and the specific Content and Information that was accessed.



INTERROGATORY NO. 17:

        For each Named Plaintiff, identify each Facebook Business Partner that had the ability to

access the Named Plaintiff’s Not Generally Available Content and Information, even if the

Named Plaintiff had not downloaded an App from that Business Partner, the date and time of

each request for such access, and the specific Content and Information that was accessed.



INTERROGATORY NO. 18:

        Identify by Bates number every document You provided or made available to PwC

related to any investigation, audit or assessment related to the subject matter of the Complaint.



INTERROGATORY NO. 19:

        Identify all members of Facebook’s senior management team involved in the review and

oversight of Facebook’s Privacy Program instituted pursuant to the 2012 Consent Decree.




PLS.’ FOURTH SET OF                              9                                    MDL NO. 2843
INTERROGATORIES                                                        CASE NO. 18-MD-02843-VC-JSC
        Case 3:18-md-02843-VC Document 606-2 Filed 01/22/21 Page 6 of 6




Dated: July 16, 2020                                   Respectfully submitted,


KELLER ROHRBACK L.L.P.                                 BLEICHMAR FONTI & AULD LLP

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PLS.’ FOURTH SET OF                            13                                     MDL NO. 2843
INTERROGATORIES                                                        CASE NO. 18-MD-02843-VC-JSC
